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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PATRICK SANTORO, JESSICA                         : CIVIL ACTION
 LANDIS                                           :
                                                  :
                      v.                          : NO. 22-4580
                                                  :
 TOWER HEALTH                                     :


                                       MEMORANDUM


MURPHY, J.                                                                    November 13, 2024

       This case is one of many questioning a hospital’s use of the Meta Pixel tracking tool on

its public website. But the issue before us now is how many chances a plaintiff gets to

adequately plead its case. Here, plaintiffs filed three complaints. Tower Health responded to

each in turn with a motion to dismiss. Over a month after oral argument, we dismissed

plaintiffs’ claims with prejudice based on the insufficiency of their factual allegations. We

concluded that after three attempts, the facts simply weren’t there and weren’t coming.

       Plaintiffs now ask us to reconsider our decision to dismiss the claims without leave to

amend. As we stated in our memorandum dismissing the claims, we recognize that this case

invokes legitimate fears about the improper sharing of medical information — plaintiffs’

concerns, in general, are not frivolous. But plaintiffs have not demonstrated that we ought to

entertain allegations that could have been, but were not, alleged earlier. They wanted a

resolution on the (third round of) pleadings, and that is what they got. We reach the same result

whether examining our earlier ruling for legal error or under the more liberal standard of Rule

15. Plaintiffs’ motion to reconsider is denied.




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I.      BACKGROUND

        Plaintiffs Patrick Santoro and Jessica Landis claim that defendant Tower Health used

Meta Pixel software to illegally intercept and communicate their private health information for

monetary gain. They assert claims against Tower Health for violation of the Electronic

Communications Privacy Act (Wiretap Act), negligence, and intrusion upon seclusion. Because

this is a motion for reconsideration, we assume the parties’ familiarity with the factual

allegations as outlined in plaintiffs’ second amended complaint (SAC) and our memorandum

dismissing the case. DI 40, 70. 1

        Plaintiffs filed their initial class action complaint in this case on November 16, 2022. DI

1. Tower Health responded with its first motion to dismiss for failure to state a claim. DI 25.

Among other points, Tower Health argued that plaintiffs “fail[ed] to allege that Tower acted with

a criminal or tortious purpose” necessary for a Wiretap Act violation. DI 25-1 at 15-16. Tower

Health also argued that plaintiffs failed to allege facts demonstrating a duty of care, id. at 18, and

failed to provide a sufficient factual basis to conclude any alleged intrusion was highly offensive,

id. at 21.

        On March 3, 2023, plaintiffs filed their first amended complaint. DI 28. Tower Health

filed their second motion to dismiss. DI 35. Tower Health argued that “Plaintiffs do not (and

cannot) allege facts showing that the substance, purport, or meaning of their communications

have been transmitted to a third party . . . . Instead, Plaintiffs make bald assertions that

personally identifiable health information is transmitted to Meta.” DI 35-2 at 18 (internal

quotations omitted). Regarding the negligence claim, they argued that the amended complaint

“does not allege any facts identifying specific communications from Plaintiffs that were



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purportedly sent to Meta,” and “[m]ere conclusory allegations are not enough to establish that

Tower violated any alleged duty of care.” Id. at 21. Tower Health further argued that plaintiffs

“allege no facts that any of Tower’s alleged conduct caused them ‘mental suffering, shame or

humiliation’ or was otherwise ‘highly offensive.’” Id. at 25.

       Plaintiffs sought leave to amend their complaint “to revise certain factual allegations, and

add new factual allegations,” which we granted. DI 38-1 at 4; see DI 39. Plaintiffs filed their

SAC on May 30, 2023. DI 40. In its third motion to dismiss, Tower Health argued that “the

overarching problem is that the SAC—like its predecessors—rests entirely on bare, conclusory

allegations.” DI 43-2 at 10; see id. at 19 (“Plaintiffs make bald assertions that the URLs,

buttons, links, pages, and tabs they viewed are ‘individually-identifiable health information’ that

was transmitted to Meta.”). Plaintiffs responded that the SAC contains “detailed, extensive

factual allegations.” DI 46 at 2.

       We held a 75-minute oral argument on Tower Health’s motion to dismiss on March 13,

2024. In its opening remarks to the court, Tower Health reiterated: “We still don’t know basic

information about what these plaintiffs say they did. We don’t know what website they visited . .

. . We don’t know what pages plaintiffs have visited . . . . We don’t know if they searched

anything.” DI 74 at 7; see id. at 8 (“And at this point, if they had the facts, we would know the

facts.”). Tower Health argued that plaintiffs’ failure to provide details about the contents of the

shared information undermined the negligence claim because “Tower could have only breached

the duty if they were sharing that personal identifiable health information.” Id. at 19. When

discussing the intrusion claim, Tower Health stated that “highly offensiveness is a stringent

standard,” and “[plaintiffs] certainly haven’t told us what they searched, if anything.” Id. at 27.

       At the outset of plaintiffs’ argument, we cautioned that “[y]our biggest problem is the



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specificity of the pleadings.” Id. at 31. Plaintiffs responded that they had not pled more specific

facts not because they “don’t know that information, which, of course, isn’t true” but because, in

their view, “it’s not required.” Id. at 36. They explained: “We don’t believe that people who

have had their personal health information improperly shared . . . should be forced to identify the

very things that are the subject of the violation in public documents.” Id. at 39. Plaintiffs

offered to identify the specific medical conditions for which plaintiffs sought information if the

court was “inclined to insist” that they do so. Id. at 51. We responded that the meaningful

problem was not the specific condition, but the “extent and scope of the information.” Id. at 52.

Plaintiffs did not offer any additional facts in response.

       Following oral argument, plaintiffs did not request leave to amend their complaint. Over

a month later, on April 24, 2024, we issued an order dismissing plaintiffs’ claims with prejudice.

DI 71. In the decision, we explained that plaintiffs’ failure to describe specific HIPAA-protected

information that was transmitted to Meta undermined their claims that Tower Health intercepted

communications for the purpose of committing a criminal or tortious act in violation of the

Wiretap Act; that Tower Health had a duty to protect sensitive health information and breached

that duty; and that Tower Health committed an intrusion that was highly offensive. DI 70. We

concluded that amendment would be futile. Id. at 14.

       Fourteen days later, Plaintiffs filed a motion for reconsideration with a proposed third

amended complaint (TAC). DI 73. They claim that the dismissal order included two legal errors

by (1) “finding that ‘providing further leave to amend would be futile’” and (2) “representing

that dismissing [p]laintiffs’ claims with prejudice is somehow ‘consistent’ with Murphy v.

Thomas Jefferson University Hosp., Inc.” DI 73 at 8. Plaintiffs’ proposed TAC includes facts

that were not alleged in their three prior complaints, including the URLs that plaintiffs allegedly



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visited on Tower Health’s website, more details about the type and transmission of personal

identifiers that Tower Health allegedly disclosed to Meta, and the health conditions for which

plaintiffs sought information on Tower Health’s website. See DI 73 at 10-11; DI 73-2 at ¶¶ 9-10,

84-85, 87, 89, 126, 149-150, 155, 158, 160, 165, 168, 175, 265, 289, 292, 294, 303, 304, 307.

Tower Health responds that the order did not embody a clear error of law or fact by denying

leave to amend; the order correctly determined that amendment would be futile; and that

dismissal was consistent with Murphy. DI 76. In their reply, plaintiffs argue that they were not

on notice of the deficiencies in their complaint, and the TAC includes sufficiently specific

allegations. DI 77. They clarify that they seek reconsideration based on legal error, not newly

discovered evidence. Id. at 3.

II.    STANDARD OF REVIEW

       “The purpose of a motion for reconsideration is to correct manifest errors of law or fact

or to present newly discovered evidence.” Harsco Corp. v. Zlotnicki, 779 F.2d 906, 909 (3d Cir.

1985); Lazaridis v. Wehmer, 591 F.3d 666, 669 (3d Cir. 2010) (internal quotations omitted). A

party seeking reconsideration must establish at least one of the following grounds: “(1) an

intervening change in the controlling law; (2) the availability of new evidence that was not

available when the court granted the motion . . . ; or (3) the need to correct a clear error of law or

fact or to prevent manifest injustice.” Max's Seafood Cafe ex rel. Lou-Ann, Inc. v. Quinteros,

176 F.3d 669, 677 (3d Cir. 1999).

       Rule 15 requires a district court to “freely give leave [to amend] when justice so

requires.” Fed. R. Civ. P. 15(a)(2). Despite this liberal pleading philosophy, a court can deny

leave to amend for reasons such as undue delay, bad faith, repeated failure to cure deficiencies in

previous amendments, undue prejudice to the opposing party, and futility of amendment. Foman



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v. Davis, 371 U.S. 178, 182 (1962); see Phillips v. Cnty. of Allegheny, 515 F.3d 224, 245 (3d Cir.

2008) (“[A] district court must permit a curative amendment unless such an amendment would

be inequitable or futile.”). Leave to amend is futile if “the complaint, as amended, would fail to

state a claim upon which relief could be granted.” In re Burlington Coat Factory Sec. Litig., 114

F.3d 1410, 1434 (3d Cir. 1997); see Fed. R. Civ. P. 12(b)(6).

III.    DISCUSSION

        A. Reconsideration is not warranted based on denial of leave to amend.

        Plaintiffs first argue that denial of leave to amend constituted legal error because the case

record did not establish that they were unable to plead sufficient facts, and the proposed TAC

itself demonstrates otherwise. DI 73 at 9-11. Tower Health responds that there was no legal or

factual error because plaintiffs were repeatedly put on notice of the factual deficiencies in their

complaint, and even if the new facts in the proposed TAC are considered, amendment is still

futile. 2 DI 76.

        “The scope of a motion for reconsideration . . . is extremely limited.” Blystone v. Horn,

664 F.3d 397, 415 (3d Cir. 2011). We agree with courts in this district that “reconsideration

should be granted sparingly because of the interests in finality and conservation of scarce judicial

resources.” Pennsylvania Ins. Guar. Ass’n v. Trabosh, 812 F. Supp. 522, 524 (E.D. Pa. 1992);

see Williams v. City of Philadelphia Office of Sheriff, No. 17-2697, 2023 WL 2139824, at *2




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          Tower Health also argues that there can be no factual error “where the facts were never
presented.” DI 76 at 15. Plaintiffs reply that this argument mischaracterizes their motion for
reconsideration as based on newly discovery evidence. See DI 77 at 3 (clarifying that plaintiffs
do not seek reconsideration based on newly discovered evidence). To be clear, we understand
plaintiffs’ motion to assert legal error, not newly discovered evidence.
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(E.D. Pa. Feb. 21, 2023); Tomasso v. Boeing Co., No. 03-4220, 2007 WL 2458557, at *2 (E.D.

Pa. Aug. 24, 2007).

        In line with this interest in finality, a proper motion to reconsider is not an attempt at a

“second bite at the apple.” Bhatnagar v. Surrendra Overseas Ltd., 52 F.3d 1220, 1231 (3d Cir.

1995); see OR v. Hutner, 576 F. App'x 106, 110 (3d Cir. 2014) (“Appellants’ motion for

reconsideration . . . is an attempt, again . . . to relitigate the District Court's dismissal of the

complaint . . . .”). It is not an avenue to “attempt a new approach or correct mistakes” or to

“argue new facts or issues that inexcusably were not presented to the court in the matter

previously decided.” Calhoun v. Mann, No. 08-458, 2009 WL 1321500, at *1 (E.D. Pa. May 12,

2009) (internal quotations omitted); see Adlife Marketing & Communications Co., Inc. v. Karns

Prime and Fancy Food, Ltd., No. 21-2074, 2023 WL 179840, at *5 (3d Cir. Jan. 13, 2023)

(affirming denial of motion for reconsideration where “the declarations and arguments presented

in support of [plaintiff’s] motion could have been raised prior to the entry of judgment in this

action”); E.E.O.C. v. Dan Lepore & Sons Co., No. 03-cv-5462, 2004 WL 569526, at *2 (E.D. Pa.

Mar. 15, 2004) (“Because [plaintiff] simply asks this Court to consider arguments that could

have previously been asserted, [plaintiff] fails to meet the standard for granting a motion for

reconsideration.”) (internal quotations omitted); Drysdale v. Woerth, 153 F. Supp. 2d 678, 683

(E.D. Pa. 2001) (declining to “sift through new evidence that, although in existence at the time of

trial, was never admitted”).

        Plaintiffs’ motion relies on facts that could have been pled much earlier. Plaintiffs had

ample notice that their description of the personal health information allegedly intercepted by

Tower Health lacked necessary detail. Tower Health repeatedly raised this point in their three

motions to dismiss. See, e.g., DI 25-1 at 7 (“[T]he Complaint wholly lacks factual allegations



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that would support Plaintiffs’ conclusion that any of their patient or health information was

transmitted to Meta.”); DI 35-2 at 18 (“Plaintiffs make bald assertions that “personally-

identifiable health information” is transmitted to Meta”); id. at 21 (“[T]he Amended Complaint

does not allege any facts identifying specific communications from Plaintiffs that were

purportedly sent Meta.”) (emphasis in original); DI 43-2 at 10 (“They do not plead any facts

supporting their claim that any “contents” of the communications were intercepted. . . .”); id. at

19 (“Plaintiffs make bald assertions that the URLs, buttons, links, pages, and tabs they viewed

are “individually-identifiable health information” that was transmitted to Meta.”); id. at 21

(“Tower could not have breached a duty of confidentiality because Plaintiffs never disclosed

individually-identifiable health information.”).

       The focal point of oral argument was plaintiffs’ lack of factual specificity when

describing the HIPAA-protected information that forms the basis for their claims. See DI 74 at 7

(“We don’t know if they searched anything. There’s no mention of search terms here. There’s

just hypotheticals and things that . . . could potentially happen.”); id. at 37 (“[Y]ou need to paint

a picture of what is the ‘information’ — to use the word from HIPAA, right? What is the

information that Facebook got? What is that information?”); id. at 52 (“I don’t know from the

complaint what the information is and I’m struggling with it.”).

       Courts around the country were dismissing similar Meta Pixel claims for failure to

adequately describe the HIPAA-protected information. See, e.g., Kurowski v. Rush System for

Health, 683 F. Supp. 3d 836, 843-44 (N.D. Ill. 2023) (dismissing a Wiretap Act claim grounded

in “vague” allegations); Cousin v. Sharp, 681 F. Supp. 3d 1117, 1128 (S.D. Cal. 2023)

(“Plaintiffs have not provided sufficient facts to support the claim that their medical information

was disclosed by [defendant].”). Still, plaintiffs did not include sufficient facts in their SAC and,



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even after oral argument, did not request leave to amend their complaint. Now — only after we

dismissed their claims with prejudice — they assert new facts to support their argument that

leave to amend was not futile. See DI 73 at 9-12.

       Against this backdrop, we conclude that it was not error to deny leave to amend. 3

When we dismissed plaintiffs’ complaint, they had already amended it twice. They were on

notice that the complaint insufficiently described the HIPAA-protected information at issue, and,

either in oral argument or a subsequent request for leave to amend, chose to withhold the

necessary facts. At oral argument, the only specific information plaintiffs offered to provide was

the nature of the health conditions (“a torn ACL or a heart attack or a bunion”) for which

plaintiffs sought information on Tower Health’s website. 4 DI 74 at 51. They immediately

qualified that offer by emphasizing that they “don’t see any reason in the law . . . why that would

be necessary.” Id. We stated then, and still find today, that identifying a specific health

condition “minimize[ed] the issue.” Id. Without more, we concluded that any further

amendment — whether because plaintiffs did not have the facts or simply did not want to

provide them — would be futile. DI 70 at 14.

       Plaintiffs argue we committed legal error by denying leave to amend because we “had not

previously ordered the Plaintiffs to plead their website use more specifically.” DI 73 at 1; see id.

at 8 (“Plaintiffs explained they had not yet plead these facts because . . . the Court had not yet

ordered them to do so.”). Yet the Third Circuit has declined to reward such a “wait-and-see”



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         Although we appreciate why plaintiffs advance their latest round of amendments, we
take no position on whether they would be enough to defeat Tower Health’s motion.
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         Plaintiffs’ general statement that it “isn’t true” that they “don’t know that information,”
without more, did little to address their failure to demonstrate — over the course of three
pleadings and an oral argument — that they possessed, and would be willing to provide,
allegations of the requisite specificity. DI 74 at 36.
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approach to pleading. Jang v. Boston Scientific Scimed, Inc., 729 F.3d 357, 368 (3d Cir. 2013).

It is plaintiffs’ job, not ours, to determine the content of their complaint. Like other district

courts, we decline to grant a motion for reconsideration where the party purposefully waits for a

court’s ruling to correct discernable errors. See United States ex rel. Sirls v. Kindred Healthcare,

536 F. Supp. 3d 1, 6 (E.D. Pa. 2021) (denying a motion for reconsideration where relator relied

on a wait-and-see approach “at his own peril”); Sanlu Zhang v. Royal Caribbean Cruises, Ltd.,

No. 19-20773, 2020 WL 1472302, at *2 (S.D. Fl. 2020) (denying a motion for reconsideration

where the plaintiff “sat back and waited to see if the Court would let his pleading fly” and, only

after dismissal, “came up with a litany of new facts”).

       We are not persuaded by plaintiffs’ argument, resting solely on nonprecedential

authority, that “claims are typically not dismissed with prejudice unless they are . . . highly

speculative, vague, and implausible, and/or the plaintiff has been advised of a specific pleading

deficiency and given at least one chance to correct it.” DI 73 at 12 (internal quotations omitted).

Of the five decisions plaintiffs cite for this point, three involved pro se litigants. 5 See Kane v.

Experian, No. 23-cv-03526, 2024 WL 1975463 (E.D. Pa. May 3, 2024); Gok v. United States,

No. 22-4838, 2024 WL 1536738 (E.D. Pa. Apr. 9, 2024); Ellis v. Pennsylvania, No. 23-2450,

2024 WL 1252831 (E.D. Pa. Mar. 22, 2024). The other two cases do little to support a finding of

legal error. Gordan v. LM Insurance Co. involved dismissal of the plaintiff’s complaint with

prejudice on res judicata grounds — a situation we do not confront here. No. 23-479, 2023 WL

2975869, at *3 (E.D. Pa. Apr. 17, 2023). Furthermore, like the court in Gordon, we did in fact

provide guidance on the “types of facts . . . available to be pleaded” — through oral argument.




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        Pro se litigants are held to a more liberal pleading standard than plaintiffs represented
by counsel. See Vogt v. Wetzel, 8 F.4th 182, 185 (3d Cir. 2021).
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Id. at *4. Plaintiffs did not use that opportunity to move for leave to amend. The court in

Harrison-El v. Gaffney dismissed a third amended complaint with prejudice when the plaintiff

“ha[d] already been given an opportunity to cure the defects in his claims and ha[d] been unable

to do so.” No. 20-cv-5978, 2022 WL 16857016, at *3 (E.D. Pa. Nov. 9, 2022). Here, plaintiffs

had three opportunities to cure defects in their complaint. Plaintiffs chose to stand their ground

on the law; they got their answer; and justice did not require further amendment. Denying leave

to amend was not a legal error.

       B. Reconsideration is not warranted due to our reliance on Murphy.

       Plaintiffs argue that we committed legal error by representing that dismissal with

prejudice was consistent with Murphy v. Thomas Jefferson University Hosp., Inc., No. 22-4674,

2023 WL 7017734 (E.D. Pa. Oct. 10, 2023). We merely represented that Murphy was consistent

with our decision to dismiss plaintiffs’ claims. See DI 70 at 8, 11-12. Murphy did not control

our decision to dismiss the claims with prejudice, and we did not deny leave to amend because

doing so was consistent with Murphy. 6 There is no legal error.

       C. Even under Rule 15, there are reasons to deny leave to amend.

       Plaintiffs move for reconsideration pursuant to Local Rule 7.1, which provides that

“[m]otions for reconsideration . . . shall be served and filed within fourteen (14) days after the

entry of the order concerned, other than those governed by Federal Rule of Civil Procedure

59(e).” L. Civ. R. 7.1(g); DI 73 at 9. However, plaintiffs ask us to reconsider a dismissal with

prejudice, which is considered a final judgment. See Burtch v. Milberg Factors, Inc., 662 F.3d

212, 230 (3d Cir. 2011) (“After judgment dismissing the complaint is entered, a party may seek



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        However, as Tower Health points out, there are differences between this case and
Murphy that render our decision to deny leave to amend not necessarily inconsistent with
Murphy. See DI 76 at 18.
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to amend the complaint (and thereby disturb the judgment) only through Federal Rules of Civil

Procedure 59(e) and 60(b).”) (internal quotations omitted); cf. Manze v. State Farm Ins. Co., 817

F.2d 1062, 1064 (3d Cir. 1987) (“Because the district court dismissed [plaintiff’s] complaint with

prejudice, we possess jurisdiction to hear this appeal. . . .”). We therefore recognize that their

motion is more properly considered a motion to amend or alter a final judgment under Rule

59(e).

         The Third Circuit has stated that after final judgment is entered, “the liberality of [Rule

15] is no longer applicable . . . . At that stage, it is Rules 59 and 60 that govern the opening of

final judgments.” Ahmed v. Dragovich, 297 F.3d 201, 207-08 (3d Cir. 2022). Nonetheless,

where a timely Rule 59(e) motion is filed with a request for leave to amend, “the Rule 15 and 59

inquires turn on the same factors.” Burtch, 662 F.3d at 230; Adams v. Gould, 739 F.2d 858, 864

(3d Cir. 1984).

         Plaintiffs did not file their motion to reconsider under Rule 59, nor did they expressly

move for leave to amend under Rule 15, although that is the gist of what they are after. Even

applying the more “liberal” Rule 15 standard to their motion and proposed TAC, we would deny

leave to amend. “The Rule 15(a) factors include undue delay, bad faith, prejudice, or futility.”

Burtch, 662 F.3d at 230-31 (internal quotations omitted). “The question of undue delay . . .

requires that we focus on the plaintiff’s motives for not amending their complaint to assert this

claim earlier.” Gould, 739 F.2d at 868. This “includes consideration of whether new

information came to light or was available earlier to the moving party.” In re Adams Golf, Inc.

Sec. Litig., 381 F.3d 267, 280 (3d Cir. 2004). “Delay may become undue when a movant has




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had previous opportunities to amend a complaint.” Cureton v. Nat’l Collegiate Ass’n, 252 F.3d

267, 273 (3d Cir. 2001).

        The Third Circuit has repeatedly affirmed denials of leave to amend where the proposed

amended complaint included facts or arguments that could have been pled earlier. See Gasoline

Sales, Inc. v. Aero Oil Co., 39 F.3d 70, 74 (3d Cir. 1994) (affirming denial of leave to amend

because “three attempts at a proper pleading is enough” and “[plaintiff] is not seeking to add

claims it inadvertently omitted from its prior complaints or which it did not know about earlier”);

Rolo v. City Investing Co. Liquidating Tr., 155 F.3d 644, 654 (3d Cir. 1998) (affirming denial of

leave to amend where “plaintiff’s proposed Second Amended Complaint primarily seeks to

replead facts and arguments that could have been pled much earlier in the proceedings”),

abrogated on other grounds by Forbes v. Eagleson, 228 F.3d 471, 483 (3d Cir. 2000); Cureton,

252 F.3d at 273-74 (affirming denial of leave to amend where district court found that “the

factual information on which the proposed amendment relied was known almost two-and-a-half

years before plaintiffs’ sought leave to amend” and “the only real reason advanced by plaintiffs

for the substantial lapse in time was plaintiff’s misplaced confidence in their original . . .

theory”).

       Plaintiffs filed their motion for reconsideration and proposed TAC nearly a year-and-a-

half after their initial complaint. See DI 1; DI 72. The proposed TAC includes additional facts

that were not alleged in the SAC. For the first time, plaintiffs identify the URLs that they

allegedly viewed on Tower Health’s website, DI 73-2 at ¶¶ 289, 303, and the health conditions

about which plaintiffs communicated on the website, id. at ¶¶ 294, 307. They describe in more

detail the types of personal identifiers that Tower Health allegedly disclosed to Meta and the

information contained therein. Id. at ¶¶ 9-10, 84-85, 260-73. Plaintiffs do not claim that they



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were unable to plead these facts much earlier in these proceedings, and there is no apparent

reason why they could not have. They had three opportunities to plead their complaint, and after

each one, Tower Health filed a motion to dismiss and identified specific factual inadequacies. At

oral argument, we identified the exact problem that eventually resulted in dismissal of their

complaint. We see no reason for plaintiffs’ delay other than “misplaced confidence” in their

legal strategy. 7 Cureton, 252 F.3d at 274.

       Allowing amendment here would reward a strategy in which plaintiffs “pursue a case to

judgment and then, if they lose . . . reopen the case by amending the complaint to take account of

the court’s decision.” James v. Watt, 716 F.2d 71, 78 (1st Cir. 1983) (Breyer, J.). This practice

undermines our interests in judicial economy and finality of litigation. See id.; Cureton, 252

F.3d at 273. We may permit such a practice when the moving party has offered an adequate

explanation for their delay, but that does not exist here. See Arthur v. Maersk, Inc., 434 F.3d

196, 204 (3d Cir. 2006) (“When a party fails to take advantage of previous opportunities to




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          Plaintiffs’ privacy-based objections are not an adequate reason for withholding facts
until this juncture. See DI 74 at 39. As stated in our dismissal memorandum, there are
mechanisms that allow plaintiffs to proceed anonymously or provide sensitive information under
seal. DI 70 at 9. Plaintiffs could have taken advantage of these mechanisms prior to dismissal.
Notably, plaintiffs did not move to file their motion for reconsideration or proposed TAC under
seal.
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amend, without adequate explanation, leave to amend is properly denied.”). We deny leave to

amend.

IV.      CONCLUSION

         For the foregoing reasons, we deny plaintiffs’ motion for reconsideration. We also deny

their request to file the proposed TAC. An appropriate order follows.




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